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 8
 9                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
10
                                           ******
11
12       UNITED STATES OF AMERICA,           )       CASE NO. 2:24-CR-00091-ODW
                                             )
13
                           Plaintiff,        )       DEFENDANT'S REPLY TO
14                                           )       OPPOSITION TO MOTION TO
                                             )       COMPEL PRODUCTION OF
15       V.                                  )       DISCOVERY
16                                           )
         ALEXANDER SMIRNOV,                  )       Honorable Otis D. Wright II
17
                                             )       November 18, 2024, at 10:00 a.m.
18                         Defendant,        )
19
20             COMES NOW, Alexander Smirnov by and through his attorneys, DAVID

21       Z. CHESNOFF, ESQ., and RICHARD A. SCHONFELD, ESQ., of the law firm of
22
         CHESNOFF & SCHONFELD, and hereby submits his Reply to the Government's
23
24       Opposition to his Motion to Compel Production of Discovery.
25
26




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 1         This Reply is made and based upon the attached Memorandum of Points and

 2   Authorities, the papers and pleadings on file herein, and any oral argument that is
 3
     heard by the Comi.
 4
           Dated this 31 st day of October 2024.
 5
 6                                          CHESNOFF & SCHONFELD
 7
                                              /s/ David Z. Chesnoff
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 1                MEMORANDUM OF POINTS AND AUTHORITITES

 2      I.      GOVERNMENT'S REPRESENTATION AS TO ISSUES BEING
 3
                RESOLVED:
 4
 5      The government represents that the following requests are resolved:

 6      1. Rule 16(a)(l)(F), (G) reports of examinations, scientific test, and expert
 7
             reports. The government asse1is that it is not aware of any such reports and
 8
             will not be calling any experts at trial.
 9
10      2. The government acknowledges that the Defendant is entitled to Giglio
11
             material as requested in paragraphs 10 and 19 of Exhibit 2, the Defendant's
12
             March 5, 2024, discovery letter. However, the government asserts that it
13
14           will produce that material "at least" one week before trial. It should be noted
15
             that the request was made by the Defendant on March 5, 2024, and the late
16
             production proposed by the government may necessitate a trial delay.
17
18     3. The government, in response to requests number 24 to 27 of the March 5,
19           2024 letter (requesting Burisma related communications), asserts that it has
20
             already produced this material (if it exists) or will produce this material as
21

22           Giglio production at least one week before trial.
23     4. The government asserts that it has produced the only U.S. Passport in its
24
             possession that belongs to Mr. Smiinov.
25
26




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 1     II.   UNRESOLVED ISSUES:

 2           1. The government asserts that it has produced communications between
 3
                the Defendant and his Handler for the time period prior to 2016, as a
 4
                result of the production of the Defendant's Icloud account and image
 5
 6              of his i-phone. The government fails to recognize that Defendant, as
 7
                a result of his services to the United States, utilized phones other than
 8
                the i-phone and i-cloud account at issue. Those other devices were
 9
10              used to communicate with the FBI Handler that was assigned to Mr.
11              Smirnov for over a decade. The government has failed to produce (or
12
                even explain why it refuses to produce) the communications from the
13
14              Handler's electronic devices, which would be the only method of
15              having a complete record of the Defendant's communication with his
16
                Handler.
17
18              Moreover, the production that Defendant's counsel has received does

19              not include the entirety of communication prior to 2016. Rather, there
20
                are gaps in the communications. There are no text messages between
21
22              Defendant and the Handler before January 16, 2014, there are no text

23              messages from June 19, 2014 to November 11 , 2015, there are no text
24
                messages from March 16, 2016 to April 20, 2016, and there are no
25
26              emails before 20 16. Most significant, the Whatsapp communication




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 1              between the Defendant and the Handler, a very common form of

 2              communication between them, only covers the time period of
 3
                04/30/2016 through 03/27/2022.
 4
 5           2. The Defendant requested, on March 5, 2024 at Paragraph 22 of the

 6              discovery letter, the Pittsburgh Assessment that is referenced in
 7
                paragraph 22 of the Indictment. The Defendant, at paragraph 23 of
 8
 9              the same letter, requested all communication between FBI Pittsburgh

10              and Mr. Smirnov's Handler.         These requests directly relate to
11
                allegations lodged in the Indictment. The government asserts that it
12
                has produced some of the material requested and the Jencks material
13
14              "involving communications of testifying law enforcement officers"
15
                will be produced at least one week before trial. What the government
16
                failed to inform the Court is that the production it is referencing did
17
18              not take place until October 25, 2024, notwithstanding that the request
19              was made in March of 2024. The government has, and continues to,
20
                refuse to produce some of the additional material and asserts that it
21
22              will produce Jencks material related to "testifying officers", which is
23              a further limitation on what the government will produce. That
24
                limitation does not satisfy the request. The discovery at issue is
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26




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 1              material, is referenced in the Indictment, and cannot be limited to only

 2              testifying witnesses.
 3
                The fact that the production was made on October 25, 2024, nearly 8
 4
                months after the request was made, just over one month prior to trial,
 5
 6              and after opposing the Defendant's request for a continuance of the
 7
                trial date, should be deemed unacceptable by the Court.
 8
             3. The      Defendant   requested    all   reports,   memorandum        and
 9
10              communications related to the alleged August 29, 2023 , meeting
11
                between the FBI investigators and the Handler mentioned in
12
                paragraph 43-44 of the Indictment. This request was also made nearly
13
14              eight months ago and the government claims that it will produce
15              Jencks material at least one week before trial. The government's
16
                characterization of this request, limiting it to only Jencks material, is
17
18              unacceptable. Again, this will likely necessitate a trial continuance.

19              The government should not be permitted to have it both ways, on the
20
                one hand opposing a continuance of the trial, and on the other hand
21
22              apparently withholding a volume of discovery until one week before

23              trial.
24
             4. The Defendant requested reports related to his efforts as a CHS for
25
26              "opened official investigations" into third parties that Defendant




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 1              reported on (to his Handler) as a result of Defendant's interactions

 2              with Associate 1. The govermnent asserts that it recently (October
 3
                25,   2024)    produced       FBI   Form   1023's    that   document
 4
                information/allegations made by the Defendant about other
 5
 6              individuals and entities. However, the govenunent has not provided
 7
                the complete contents of the investigations.          Moreover, the
 8
                government chooses to ignore that a request was made on March 5,
 9
10              2024, at paragraph 15, for the FBI 302 reports, Form FD1023, and/or
11
                any   other   reports/documentation related to       Mr.    Smimov's
12
                cooperation with the FBI or any other agency of the United States
13
14              Government. The government, in producing this late discovery after
15              opposing a trial continuance, has provided no explanation for the
16
                lateness of the disclosure.
17
18           5. The Defendant requested access to his seized phone so that the content

19              can properly be examined. The Defendant offered to stipulate to the
20
                chain of custody and the government utilizing a mirror image of the
21
22              phone for trial purposes. The government refused and still opposes

23              the Defendant's request. At a minimum, the Court should order the
24
                government to produce the phone at the Courthouse where the United
25
26              States Marshal Service can bring the Defendant, with his counsel




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 1              present, so that the Defendant and his counsel can inspect and access

 2              the content of the phone.
 3
             6. The Defendant requested communication related to the request that
 4
 5              U.S. Attorney David Weiss's team "assist" with "an investigation of

 6              allegations" related to the FD-1023.      The government refuses to
 7
                produce this material and ignores that fact that the government chose
 8
 9              to include the following language in the Indictment: "In July 2023,

10              the FBI requested that the U.S. Attorney's Office for the District of
11
                Delaware assist the FBI in an investigation of allegations related to
12
                the 2020 1023. At that time, the United States Attorney's Office for
13
14              the District of Delaware was handling an investigation and
15
                prosecution of Businessperson 1." Accordingly, not only did the
16
                government, in its Indictment, place the communications at issue, it is
17
18              clear that the communication are relevant and discoverable. This
19              request has been outstanding since March 5, 2024.
20
             7. The Defendant requested U.S. Department of State records that were
21
22              cited in a New York Times Article. Specifically, the request (which
23              is at Exhibit 4 to Defendant's Motion) provided: "According to news
24
                accounts published in the New York Times and reprinted by CNN on
25
26             August 13, 2024, Hunter Biden's letter (which, itself, has not been




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 1                released) "asked for help from the US State Depa1iment as he sought

 2                to make a deal for a Ukrainian gas company in Italy while his father
 3
                  was vice president .... According to the Times, Hunter Biden sent at
 4
 5                least one letter to the US ambassador to Italy in 20 16 on behalf of the

 6                company, Burisma, where he was a board member at the time. The
 7
                  outreach, a businessman involved in the project told the Times, came
 8
                  when the company was having difficulty securing regulatory approval
 9
10                for a geothe1mal project in Tuscany." CNN, Hunter Biden asked State
11
                  Dept.    for   Help     Securing     Burisma     Project    m    2016,
12
                  https ://www.cnn.com/2024/08/ 13/politics/hunter-biden-state-
13
14                department-help-burisma-proj ect (Aug. 13, 2024)."
15
                  This request directly relates to the allegations in the Indictment and
16
                  the government, while attempting to minimize the nature of the
17
18                request, has provided no explanation for the failure to produce. Given
19                that material was apparently provided to the media, the government's
20
                  refusal to produce the material to the Defendant in this case is
21
22                unfounded.

23         For the foregoing reasons, and based upon the law cited in Mr. Smimov's
24
     original motion, the Court should order production of the discovery outlined above.
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 1         Finally, it should be noted that the government's Opposition is the first time

 2   that the government has substantively asserted its position related to the numerous,
 3
     and repeated, efforts on the part of Mr. Smirnov to secure discovery so that he can
 4
 5   defend himself in this matter.     Notwithstanding the foregoing, and the late

 6   production of discovery on October 25, 2024, the government opposed Mr.
 7
     Smirnov' s request for a trial continuance so that he can adequately prepare his
 8
     defense.
 9
10         DATED this 31 st day of October, 2024.
11
12                                          Respectfully Submitted:
13
                                            CHESNOFF & SCHONFELD
14
15                                           /s/ David Z. Chesnoff
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 1                            CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on this 3 p t day of October 2024, I caused the
 3
     forgoing document to be served via the Court's e-:filingle-service system a true and
 4
     correct copy of the foregoing to all parties listed on the Court's Service List.
 5
 6                                           Isl Camie Linnell
                                             Employee of Chesnoff & Schonfeld
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